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1    Brandon J. Witkow (SBN 210443)
2    bw@witkowlaw.com
     Cory A. Baskin (SBN 240517)
3    cb@witkowlaw.com
4    witkow | baskin
     21031 Ventura Boulevard, Suite 700
5    Woodland Hills, California 91364
6    Tel: 818.296.9508
     Fax: 818.296.9510
7

8    Attorneys for Defendant
     LIN’S WAHA INTERNATIONAL CORP.
9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
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      OCM GROUP USA INC.,                    Case No. 2:19:-cv-08917 SB (KSx)
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                              Plaintiff,     SUPPLEMENTAL DECLARATION
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                                             OF XIUQING LIN IN SUPPORT OF
15          vs.                              MOTION FOR SUMMARY
                                             JUDGMENT ON PLAINTIFF’S
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      LIN’S WAHA INTERNATIONAL               COMPLAINT; OR, IN THE
17    CORP, a New York corporation; and      ALTERNATIVE, SUMMARY
      DOES 1-10.                             JUDGMENT ON PLAINTIFF’S
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                                             CLAIM FOR MONETARY
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                              Defendant.     DAMAGES
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                                             Hearing:
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22                                           Date: March 5, 2021
                                             Time: 8:30 a.m.
23                                           Ctrm: 6C
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                       SUPPLEMENTAL DECLARATION OF XIUQING LIN
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1               SUPPLEMENTAL DECLARATION OF XIUQING LIN
2          I, Xiuqing Lin, declare as follows:
3          1.     I am the Manager of Lin’s Waha International Corp. (“Defendant”), the
4    defendant in the instant action. I make this supplemental declaration to address
5    certain arguments and statements made in Plaintiff OCM Group USA’s (“OCM”)
6    Brief in Opposition to the Motion for Summary Judgment (the “Opposition” [Docket
7    # 32]), as well as the Declarations of XuHua Mo (“Mo Decl.”) [Docket # 32-18] and
8    Xiaoqing Liu (“Liu Decl”) [Docket # 32-17] offered in support of the Opposition.
9    Based on my responsibilities at and for Defendant and my own involvement in the
10   facts and circumstances described below, I have personal knowledge of the facts set
11   forth herein which I know to be true, except as to the matters that are stated on my
12   information and/or belief, and as to those matters, I believe them to be true.
13         2.     As previously discussed in paragraph 5 of my original Declaration,
14   Defendant is alleged to be infringing the following beverage products: (a)
15   XIANGPIAOPIAO Teas: Dasheen [Taro] Milk Tea, Strawberry Milk Tea, Wheat
16   Milk Tea, Original Milk Tea; (b) MECO Teas: Kumquat & Lemon, Thai Lime,
17   Peach & Pink Grapefruit & Milk Tea; and (c) LAN FONG YUEN Milk Tea
18   (together, the “Products at Issue”). Three of the nine Products at Issue do not contain
19   milk and/or dairy components (i.e., MECO Kumquat & Lemon Tea, MECO Thai
20   Lime Tea, MECO Peach & Pink Grapefruit Tea).            These products are tea-based
21   drinks. For example, below is an enhanced image of the ingredients panel of the
22   MECO Kumquat & Lemon Tea that was imported by Defendant (this image was
23   attached as Exhibit 3 to my original declaration):
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                         SUPPLEMENTAL DECLARATION OF XIUQING LIN
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16             3.    For the following products – XIANGPIAOPIAO Wheat Milk Tea,
17       XIANGPIAOPIAO Dasheen [Taro] Milk Tea, XIANGPIAOPIAO Original Milk
18       Tea and XIANGPIAOPIAO Strawberry Milk Tea (the “Milk Tea Products”), OCM
19       sells these Milk Tea Products in the United States are comprised of a “milk tea
20       powder” and/or "dry milk," not liquid milk. “Milk tea powder” and/or "dry milk" are
21       also the ingredients contained in these very same products Defendant (through
22       Fujian) purchased from XPP in China, imported and sold in the United
23       States.    Below are enhanced images of the ingredients panel of the Milk Tea
24       Products as sold by OCM at the Skyfoods Market in Flushing, New York:1
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      I purchased these products on January 13, 2021 at Skyfoods Market located 40-24
     College Point Boulevard, Skyview Center, Flushing NY 11355, and took the
27   photographs shown herein.
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                            SUPPLEMENTAL DECLARATION OF XIUQING LIN
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                       SUPPLEMENTAL DECLARATION OF XIUQING LIN
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                       SUPPLEMENTAL DECLARATION OF XIUQING LIN
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2          4.     I have reviewed the Declarations of Xiaoqing Lin (“Lin Decl” [Docket
3    # 32-17]) and XuHua Mo (“Mo Decl.” [Docket # 32-18]) submitted by OCM, and
4    disagree with their conclusory statements — unsupported by any reference to
5    applicable law or authority — that Defendant was required to possess “veterinary
6    certificates” in order to import all of the Products at Issue, especially since many of
7    the products clearly do not contain milk, and others contain only a milk powder as
8    the listed ingredient. For the Milk Tea Products, to Defendant’s knowledge, there
9    is no “veterinary certificate” required for the importation of these products as the
10   products constitute “[f]ormulations containing dry milk products as the only animal
11   origin ingredient, commercially labeled and presented in final finished packaging
12   requiring no further manipulation of the product (includes all products that contain
13   dry milk powder or dry milk products to include the following as a partial, not all-
14   inclusive list: baking mixes, cocoa mixes, drink mixes, etc.). (See Request for
15   Judicial Notice (“RJN”), Exhs. A & B) (emphasis added).
16         5.     As discussed in paragraph 6 of the Declaration of Linpan Deng, Fujian
17   purchases all of the Products at Issue in a finished and sealed condition, and Fujian
18   in no way alters the contents, packaging or labeling of these products prior to their
19   export to Lin’s Waha in the United States. Similarly, in paragraphs 4 and 6 of my
20   original declaration, I confirmed that when Defendant receives the Products at Issue
21   from Fujian in the United States, it also makes no changes to the contents of the
22   products, its packaging or to its labeling. Accordingly, it is Defendant’s position
23   that the Products at Issue, and in particular, the Milk Tea Products, as received from
24   Fujian and sold in the United States are “commercially labeled and presented in final
25   finished packaging requiring no further manipulation of the product,” and
26   thereby no veterinary certificate is required. Indeed, all shipments of
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                         SUPPLEMENTAL DECLARATION OF XIUQING LIN
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